    Case: 1:18-cv-05369 Document #: 136 Filed: 05/26/20 Page 1 of 3 PageID #:3740




                    IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

     UBIQUITI INC., f/k/a Ubiquiti Networks,
     Inc.,

                                Plaintiff,


                          v.
                                                             Civil Action No.: 1:18-cv-05369

                                                             JURY TRIAL DEMANDED
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;
                                                             Hon. J. Gary S. Feinerman
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and
     DMITRY MOISEEV

                                Defendants.


               PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

        Pursuant to Local Rule 26.2 and the Agreed Confidentiality Order entered in this case

(Dkt. No. 102), Plaintiff Ubiquiti, Inc. (“Plaintiff”), by and through its undersigned counsel,

respectfully requests that the Court grant Plaintiff’s Motion for Leave to File Under Seal (the

“Motion”) Exhibits A & B to Plaintiff’s Motion to Compel De-Designation of Defendants’

Attorneys’ Eyes Only Production and for Sanctions. 1 In support of the Motion, Plaintiff states as

follows:

        WHEREAS, the above-named Defendants have designated all documents produced in

this action as “CONFIDENTIAL RESTRICTED – ATTORNEYS’ EYES ONLY” under the

Agreed Confidentiality Order entered in this case.


1
  Pursuant to the terms of the Fourth Amended General Order In Re: Coronavirus COVID-19 Public
Emergency (Dkt. No. 131), Plaintiff has noticed this motion for presentment at the earliest available date
of July 15, 2020 – which date may be further subject to any individual orders entered by this Court with
respect to the scheduling of such presentment hearings.
                                                    1
   Case: 1:18-cv-05369 Document #: 136 Filed: 05/26/20 Page 2 of 3 PageID #:3741




       WHEREAS, Plaintiff has filed a Motion to Compel De-Designation of Defendants’

Attorneys’ Eyes Only Production and for Sanctions, and in support thereof attached certain

specific production documents that Defendants have designated as “CONFIDENTIAL

RESTRICTED - ATTORNEYS’ EYES ONLY” as Exhibits A & B.

       WHEREAS, Plaintiff seeks to file the above-referenced production documents under seal

in accordance with the terms of the Agreed Confidentiality Order pending the Court’s ruling on

its Motion to Compel De-Designation of Defendants’ Attorneys’ Eyes Only Production and for

Sanctions.



       WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

grant leave to file the above listed documents under seal.



Dated: May 26, 2020                          Respectfully submitted by:

                                             FOX SWIBEL LEVIN & CARROLL LLP


                                             /s/ Erik J. Ives
                                             David Koropp (ARDC #6201442)
                                             dkoropp@foxswibel.com
                                             Erik J. Ives (ARDC #6289811)
                                             eives@foxswibel.com
                                             Steven J. Reynolds (ARDC #6293634)
                                             sreynolds@foxswibel.com
                                             Steven L. Vanderporten (ARDC # 6314184)
                                             svanderporten@foxswibel.com
                                             Fox Swibel Levin & Carroll LLP
                                             200 W. Madison St., Suite 3000
                                             Chicago, IL 60606

                                             Attorneys for Plaintiff Ubiquiti Inc., f/k/a Ubiquiti
                                             Networks, Inc.




                                                 2
   Case: 1:18-cv-05369 Document #: 136 Filed: 05/26/20 Page 3 of 3 PageID #:3742




                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 26, 2020, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.


                                                   /s/    Erik J. Ives
                                                          Erik J. Ives




                                              3
